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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


LISA COPPOLA LLC d/b/a THE COPPOLA FIRM,

                      Plaintiff,


v.                                                              Docket No.: 1:19-cv.-00678


MATTHEW K. HIGBEE, ESQ., NICHOLAS YOUNGSON,
RM MEDIA, LTD, and HIGBEE & ASSOCIATES,

                      Defendants.



                                   RICO CASE STATEMENT

       Plaintiff, Lisa Coppola LLC d/b/a The Coppola Firm, submits the following as its

RICO case statement as required by the Court’s Local Rules.

 (a) State whether the alleged unlawful conduct is in violation of
18 U.S.C. § 1962(a), (b), (c), and/or (d). The alleged unlawful conduct is in violation of

18 U.S.C. § 1962(a), (b), (c), and (d).

  (b) List each defendant and state the alleged misconduct and basis of liability of
each defendant. Matthew K. Higbee, Esq., individually and through his law firm Higbee &
Associates, falsely represents the existence of a valid and enforceable copyright claim, and
then sends threats to thousands of victims through the United States Postal Service to
extort money from victims, in violation of 18 U.S.C § 1341.

Defendants Higbee and Higbee & Associates counseled defendants Youngson and RM Media
to join them in this pattern of racketeering. Together, defendants orchestrated a system to
promote images that are labeled as “free for reuse” in order entrap victims. Moreover,
defendants conspired to violate 18 U.S.C. § 1341 when they agreed to orchestrate a scheme
that manufactured meritless copyright infringement claims so that defendant Higbee and
his law firm could extort victims, using the United States Postal Service, in order to make a
pro fit.




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Defendants have derived substantial income, either directly or indirectly, through their
pattern of racketeering activity in violation of 18 U.S.C. § 1962.

Defendant Higbee owns Higbee & Associates and controls defendants RM Media and
Youngson through a broadly-worded power of attorney.

Defendant Higbee & Associates is engaged in, or engaged in activities that affect interstate
commerce and, therefore, is an enterprise as defined by 18 U.S.C. § 1961(4).

Defendants Youngson and RM Media either commanded or aided and abetted the violations
of 18 U.S.C § 1341 by making Higbee & Associates their power of attorney. Defendants
RM Media and Youngson overtly acted in furtherance of the conspiracy when they assigned
Higbee & Associates broad powers as their power of attorney.

Defendants Youngson and RM Media have derived substantial income, either directly or
indirectly, through their pattern of racketeering activity in violation of 18 U.S.C. § 1962.

  (c) List the alleged wrongdoers, other than the defendants listed above, and state
the alleged misconduct of each wrongdoer. At this time, plaintiff is not aware of the
identities of wrongdoers other than the defendants.

  (d) List the alleged victims and state how each victim was allegedly injured. Upon
information and belief, in addition to plaintiff, defendants’ victims include thousands of
individuals and businesses across the United States. Victims were injured because they
paid undeserved and extortionate sums of money to defendants.

These alleged victims include, but are not limited to:
   • Meyer, Suozzi, English & Klein P.C. (Meyer, eta!. v. Higbee, Case No. Case 2:18-cv-
       03353-ADS-ARL, Docket No. 38 (E.D.N.Y));
   • Homeless United for Friendship and Freedom, Professor Claudia Eckelmann, and
       Mike Spaulding (https://pubcit.typepad.com/clpblog/ 20 19/02/consumer-
      warning-copyright-trolling-by-higbee-and-associates.html);
   • Daniel Quinn https://www.techdirt.com/articles/20190220/13283641640/
       investigating-higbee-associates-copyright-trolling-operation.shtml;
       Richard Kyanka (https://www.tech dirt.com/articles/20150608/2232243 1278/
       lawyers-threaten-somethingawful-using-photo-movie-review.shtml);
   • Members of this Facebook group specifically designed to bring together defendants
       Higbee and Higbee & Associates’ victims, which is found at
       https://www.facebook.com/groups/490638598098532/; and
   • Hundreds of individuals identified in the following links:
           o https : //www.complaintsboard.com/ complaints/higbee-associates-sued-for
               copyright-case-when-i-was-willing-to-settle-mean-wasteful-c79763 0.html;
           o https ://www.extortionletterinfo .com/forum/higbee-letter-lawsuits-forum/;
           o https://www.techdirt.com/articles/20 1902 20/13071041639/one-persons-
               unsettling-experience-with-2Ok-higbee-copyright-troll-demand-letter.shtml;



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          o   https ://www.extortionletterinfo.com/forum/higbee-Ietter-lawsuits
              forum/nicholas-youngson-photographer- (rep-by-highee-associates)    -




              copyright-abuse!;
          o   https: //copyright-demand-letter.com/rm-media-ltd-nick-youngson-files
              copyright-lawsuit/;
          o   https ://www.quora.com/What-should-I-do-when-I-am-being-sued-by
              Higbee-Associates-for-using-an-image-I-got-from-Google-without-a-licence
              I-got-mail-saying-that-I-used-an-image-without-having-the-licence-and
              now-I-m-being-sued-for-52 00;
          o   https://www.sitej abber.com/reviews/higbeeassociates.com;
          o   https://copyright-demand-letter.com/higbee-associates-copyright/;
          o   https ://matthewsag.com/category/copyright-trolls/;
          o   https: //www.ripoffreport.com/report/higbee-associates-law-firm/snt-n-c
              clss-ction-suit-ginst-1477741; and
          o   https://www.techdirt.com/articles/20190606/15054242346/ mathew
              higbee-cuts-runs-when-finally-challenged-questionable-shakedown.shtml

  (e) Describe in detail the pattern of racketeering activity or collection of unlawful
debts alleged for each RICO claim. A description of the pattern of racketeering
shall include the following information: Defendants Higbee and Higbee & Associates
engage in a pattern of racketeering by using the United States Postal Service to send
threatening demands for payment in violation of 18 U.S.C § 1341. The threats demand,
often without basis, payment of substantial sums of money. In many cases there is no legal
basis to support the payment demanded. Nonetheless defendants Higbee and Highee &
Associates, threaten litigation and significant damages, often as much as $150,000.00, in
order to coerce payment from victims who do not have the means to defend themselves.
Defendants RM Media and Nick Youngson conspired with defendants Higbee and Higbee &
Associates and agreed to be part of this scheme. As an overt act to participate in the
conspiracy and engage in this pattern of racketeering defendants RM Media and Nick
Youngson assigned full power of attorney over their claims to defendants Higbee and
Higbee & Associates.

A description of the pattern of racketeering shall include the following information:

       (1) List the alleged predicate acts and the specific statutes which were
allegedly violated: Based on the forgoing, defendants violated 18 U.S.C § 1341.

       (2) Provide the dates of the predicate acts, the participants in the predicate
acts, and a description of the facts surrounding the predicate acts: Plaintiff received
threats from defendants Higbee and Higbee & Associates dated March 6, 2019 and
May 9, 2019. Each threat demanded payment of monies not owed to defendants in relation
to an unenforceable claim of copyright infringement.

       (3) If the RICO claim is based on the predicate offenses of wire fraud, mail
fraud, or fraud in the sale of securities, the “circumstances constituting fraud or
mistake” shall be stated “with particularity.” Fed.R.Civ.P. 9(b). Identify the time,


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place and contents of the alleged misrepresentations, and the identity of persons to
whom and by whom the alleged misrepresentations were made: On or about
March 6, 2019 and May 9, 2019, defendants used the United States Postal Service to send a
demand for money that relied on false pretenses. Specifically, defendants demanded
money from plaintiff for infringing on a copyright after defendants specifically made the
image available to plaintiff for free. Defendants demanded exorbitant statutory damages in
the amount of $150,000.00 to which defendants were not entitled. In addition, defendants
sent to plaintiff a complaint drafted to be filed with the Western District of New York, but
signed by Defendant Higbee. Defendant Higbee is not admitted to practice law in New York
State or the Western District of New York further displaying the false pretenses under
which the communication was sent.

       On or about February 5, 2018 and May 22, 2018, Meyer, Suozzi, English & Klein P.C.
received similar threats from defendants Higbee and Higbee & Associates which demanded
money damages in relation to a bogus copyright infringement claim.

      (4) State whether there has been a criminal conviction for violation of each
predicate act. No. However, the New York State Attorney General’s office is investigating
defendants Higbee, Higbee & Associates, and their counsel in this action, Rayminh L. Ngo,
Esq.

      (5) State whether civil litigation has resulted in a judgment in regard to each
predicate act. No.

       (6) Describe how the predicate acts form a “pattern of racketeering activity.”
The predicate acts, namely instances of mail fraud against numerous victims have been
ongoing for several years. For example, Richard Kyanka received a threat from defendant
Higbee dated June 1, 20 15. (https://www.techdirt.com/articles/20150608/
223224312 78/lawyers-threaten-somethingawful-using-photo-movie-review.shtml).
Meyer, Suozzi, English & Klein P.C. received similar threats dated February 5, 2018 and
May 22, 2018. Plaintiff received threats from defendant Higbee in March and May of 2019.

       (7) State whether the alleged predicate acts relate to each other as part of a
common plan. If so, describe in detail. The predicate acts all relate to each other as part
of a common plan to enrich defendants Higbee, Higbee & Associates, and other individuals
who participate in the scheme such as defendants Youngson and RM Media. Each instance
involves defendants Higbee and Highee & Associates entrapping a victim and then sending
a demand through the United States Postal Service to extort undeserved compensation
from victims. Defendants Higbee and Higbee & Associates make arbitrary demands for
money that are not supported by the law or the facts that they describe. Then they
threaten litigation and pursuit of damages as high as $150,000.00 to coerce victims into
making payment to defendants.

  (f) Describe in detail the alleged enterprise for each RICO claim. A description of
the enterprise shall include the following information:



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(1) State the names of the individuals, partnerships, corporations,
    associations, or other legal entities, which allegedly constitute the
    enterprise. Matthew K. Higbee, Esq. and Higbee & Associates.

(2) Describe the structure, purpose, function and course of conduct of the
    enterprise. Defendant Higbee is an attorney and defendant Higbee & Associates
    is a law firm owned by Higbee. Defendants Youngson and RM Media are clients
    of the Higbee & Associates. Defendant Youngson owns RM Media. Defendant
    Youngson is a photographer. Defendant RM Media owns and sells images online.
    At the advice and direction of Higbee and Higbee & Associates, defendants
    RM Media and Youngson make images available online for free. The free images
    are then promoted and labeled as free to use. The “free to use” label lures
    consumers into using the free images online. Defendants RM Media and
    Youngson then hire defendants Higbee and Higbee & Associates to run reverse
    image searches to identify where and how the “free to use” images have been
    used. Once defendants locate a user, defendant Higbee and his law firm send a
    letter through the United States Postal Service to demand payment from the
    user. In most instances, the demand is for several thousand dollars. If the user
     does not pay, defendant Higbee threatens litigation and pursuit of damages in an
     amount, typically in the amount of $150,000.00. At this stage, the user typically
     pays defendants because s/he cannot afford a lawyer to defend against the
     claims. Collectively, defendants have targeted thousands of victims over a period
     of at least four years.

(3) State whether any defendants are employees, officers or directors of the
    alleged enterprise. Defendant Higbee owns Higbee & Associates.

(4) State whether any defendants are associated with the alleged enterprise.
    Defendants Youngson and RM Media are associated with the enterprise. Namely
    they are clients of the enterprise, cooperate with the enterprise, and have
    affirmatively assigned the enterprise their full power of attorney in order to
    make a profit.

(5) State whether you are alleging that the defendants are individuals or
    entities separate from the alleged enterprise, or that the defendants are
    the enterprise itself, or members of the enterprise. Defendant Higbee &
    Associates is the enterprise, and it is owned by defendant Higbee. Each other
    defendant is separate from the enterprise but a perpetrator of the racketeering
    activity.

 (6) If any defendants are alleged to be the enterprise itself, or members of the
     enterprise, explain whether such defendants are perpetrators, passive
     instruments, or victims of the alleged racketeering activity. Defendant
     Higbee & Associates is the enterprise, and the law firm is a passive instrument
     by which defendant Higbee is an active perpetrator.



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(g) State and describe in detail whether the pattern of racketeering activity and the
    enterprise are separate or have merged into one entity. The pattern of
    racketeering is separate from the enterprise, because defendant Highee & Associates
    is, upon information and belief, involved in some legitimate legal work.

(h) Describe the alleged relationship between the activities of the enterprise and
    the pattern of racketeering activity. Discuss how the racketeering activity
    differs from the usual and daily activities of the enterprise, if at all. The activities
    of the enterprise consist of the pattern of racketeering activity intermingled with
    some legitimate legal work. The pattern of racketeering activity differs from the
    legitimate claims because defendants intentionally lure a victim into using a
    copyrighted image and then demand payment from the victim for using the image
    even though defendants know they have no valid claim of copyright infringement and
    are not legally entitled to the damages that they demand.

(I) Describe what benefits, if any, the alleged enterprise receives from the alleged
    pattern of racketeering. Defendant Higbee, the owner of the enterprise, is
    compensated when the fraudulent claim results in payment by a victim. Defendants
    Youngson and RM Media also profit from funds obtained from victims.

(j) Describe the effect of the activities of the enterprise on interstate or foreign
   commerce. The activities of the enterprise involve demands for payment that
   frequently cross state lines. In addition, because defendants RM Media and Youngson
   are located in the United Kingdom, the activities cause payment to be sent to foreign
   countries. Moreover, the images that are falsely labeled as “free to use” are marketed
   online, internationally.

(k)If the complaint alleges a violation of 18 U.S.C.   § 1962(a), provide the following
   information:

     (1) State who received the income derived from the pattern of racketeering
         activity or through the collection of an unlawful debt. Defendant Higbee
         through defendant Higbee & Associates collects the unlawful debt from victims
         and then share the funds with members of the enterprise including defendants
         RM Media and Youngson. Often defendant Higbee collects the funds by use of a
         credit card authorization that is sent to victims with his threat, sometimes via
         the United States Postal Service, to further entice the victim to pay defendants.

      (2) Describe the use of investment of such income. The unlawful debts collected
          are then invested into the furtherance of the enterprise. For example, defendant
          Higbee the owner of Higbee and Associates invests the unlawful debts that he
          collects to grow his law firm and pursue additional victims.

(1) If the complaint alleges a violation of 18 U.S.C. § 1962(b), describe in detail the
    acquisition or maintenance of any interest in or control of the alleged
    enterprise. Defendant Higbee continues to own and control Higbee & Associates.


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 (m) If the complaint alleges a violation of 18 U.S.C.   § 1962(c), provide the following
    information:

    (1) State who is employed or associated with the enterprise. Defendants
        Youngson and RM Media are associated with Higbee & Associates and have
        assigned Higbee & Associates full power of attorney.

    (2) State whether the same entity is both the liable “person” and the “enterprise”
        under section 1962(c). The liable person is separate from the enterprise

 (n)If the complaint alleges a violation of 18 U.S.C. § 1962(d), describe in detail the
    alleged conspiracy. Defendants conspired to orchestrate a scheme by which
    defendants would lure victims into believing they could and were permitted to use
    images free of charge and then, when the victims did so, defendants demand payment
    from the victims by sending threats under the cover of Higbee & Associates through
    the United States Mail. At all times, each and every one of the defendants knew the
    copyright claims for which they would demand payment were not legitimate.

 (o) Describe the alleged injury to business or property. Plaintiff has been injured
     because it has been required to devote substantial time and resources away from its
     business to research and defend against the false copyright claims and harassment by
     defendants. Plaintiff’s injury and damages also includes monetary expenses such as
     hiring legal counsel.

 (p) Describe the direct causal relationship between the alleged injury and the
     violation of the RICO statute. The injury to plaintiff was directly caused by the
     violation of the RICO statute, namely the fraudulent demand for payment that
     defendant Higbee sent through the United States Postal Service. Upon receiving the
     demand, plaintiff immediately hired legal counsel, thereby incurring expense.

 (q) List the damages sustained for which each defendant is allegedly liable.

Each defendant is liable for damages to plaintiff totaling approximately $20,000.00 which
continues to accrue. The sum is comprised of outside legal counsel fees incurred as a result
of the RICO violation and the loss of income plaintiff would have generated had it been able
to dedicate the time and attention spent on this case to its other paying clients.

 (r) List all other federal causes of action, if any, and provide the relevant statute
     numbers. Plaintiff seeks declaratory relief pursuant to the copyright laws of the
     United States (17 U.S.C. § 101 et seq.) and the Declaratory Judgment Act
     (28 U.S.C. § 2201, 2202).

 (s) List all pendent state claims, if any. Plaintiff articulates a claim based on
     defendants’ violation of New York General Business Law § 349.



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 (t) Provide any additional information that would be helpful to the Court in
     processing your RICO claim. Since this action, plaintiff has received numerous
     unsolicited contacts from additional victims of defendants. These victims included
     businesses from various locations in the United States, some of whom or which
     already have been coerced into paying money to Higbee & Associates and others who
     or which desire to defend against the defendants’ unlawful conduct. Plaintiff expects
     to receive substantially more detail about the inner workings of defendants’
     racketeering activity in discovery.
                                                    —   -Th
Dated: Buffalo, New York
       August27, 2019

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